Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.113 Page 1 of 26



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                            _____________________________

PAMELA REILLY, as personal                  Case No. 1:18-cv-1149
representative of the Estate of Rosemarie   Honorable Janet T. Neff
Reilly,                                     Magistrate Ellen S. Carmody

       Plaintiff,

v.                                          OTTAWA COUNTY DEFENDANTS,
                                            INCLUDING THE COUNTY, DEPUTY
OTTAWA COUNTY, a municipal                  TUBERGEN, and SERGEANTS DILL
corporation; DEPUTY ERIC TUBERGEN, in       AND LUCE’S, ANSWER TO FIRST
his individual capacity; SERGEANT CHRIS     AMENDED COMPLAINT,
DILL, in his individual capacity; POLICE    AFFIRMATIVE DEFENSES, AND
OFFICER COLLIN WALLCE, in his               JURDY DEMAND
individual capacity; SERGEANT DENNIS
LUCE, in his individual capacity; CAPTAIN
BRANDON DEHAAN, in his individual
capacity; and SEAN KELLEY, in his
individual capacity

       Defendants.

James B. Rasor (P43476)                     Douglas W. Van Essen (P33169)
Andrew J. Laurila (P78880)                  Lee T. Silver (P36905)
RASOR LAW FIRM, PLLC                        Michael L. Gutierrez (P79440)
Attorneys for Plaintiff                     SILVER & VAN ESSEN, P.C.
201 East 4th Street                         Attorneys for Defendants Ottawa County,
Royal Oak, MI 48067                           Tubergen, Dill, and Luce
(248) 543-9000                              300 Ottawa Avenue, NW, Suite 620
jbr@rasorlawfirm.com                        Grand Rapids, MI 49503
ajl@rasorlawfirm.com                        (616) 988-5600
                                            dwv@silvervanessen.com
                                            ltsilver@silvervanessen.com
                                            mgutierrez@silvervanessen.com

      Defendants OTTAWA COUNTY, OTTAWA COUNTY SHERIFF’S DEPUTY ERIC

TUBERGEN, OTTAWA COUNTY SHERIFF’S SERGEANT CHRIS DILL, and OTTAWA

COUNTY SHERIFF’S SERGEANT DENNIS LUCE (“Ottawa County Defendants”), by and
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.114 Page 2 of 26



through their attorneys aforesaid, answer the First Amended Complaint and Jury Demand against

the Ottawa County Defendants and assert the following affirmative defenses:

                                JURISDICITON AND VENUE

       1.      This cause of action is brought pursuant to 42 U.S.C. § 1983, as well as the
Fourteenth Amendment to the United States Constitution, and pendant claims arising under the
laws of the State of Michigan.

ANSWER:        The Ottawa County Defendants neither admit nor deny the allegations of this

paragraph because they are legal conclusions to which no responsive pleading is required.

       2.      This Court has jurisdiction over the claims arising under federal law pursuant to 28
U.S.C. § 1331 and supplemental jurisdiction over the claims arising under state law pursuant to 28
U.S.C. § 1367.

ANSWER:        The Ottawa County Defendants neither admit nor deny the allegations of this

paragraph because they are legal conclusions to which no responsive pleading is required.

        3.     Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b), as this cause of
action arose within the Western District of Michigan.

ANSWER:        The Ottawa County Defendants neither admit nor deny the allegations of this

paragraph because they are legal conclusions to which no responsive pleading is required.

                                           PARTIES

       4.      Plaintiff, Pamela Reilly, is, and was at all times relevant hereto, a citizen of the
United States and a resident of the City of New Baltimore, County of Macomb, State of Michigan.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        5.     Plaintiff is the mother and duly appointed Personal Representative of Rosemarie
Reilly, deceased, and brings suit in her representative capacity as the Personal Representative of
the estate.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.




                                                2
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.115 Page 3 of 26



       6.     Rosemarie Reilly was at all times relevant hereto a citizen of the United States.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       7.      Defendant Ottawa County was at all times relevant hereto, a body politic and
Municipal corporation organized under the laws of the State of Michigan and is responsible for
the operation of the Ottawa County Sheriff’s Department (herein “OCSD”).

ANSWER:       The Ottawa County Defendants admit that Ottawa County is a municipal

corporation organized under the laws of the state of Michigan.             The Ottawa County

Defendants neither admit nor deny the allegations of this paragraph because they are legal

conclusions to which no responsive pleading is required.

        8.    At all times material and relevant hereto, Defendant Eric Tubergen was an officer
of the Ottawa County Sheriff’s Department and was acting under the color of state law and in the
course and scope of his employment. He is sued in his in his [sic] individual capacity.

ANSWER:       The Ottawa County Defendants admit that Defendant Eric Tubergen is a

deputized member of the Ottawa County Sheriff’s Department.                The Ottawa County

Defendants neither admit nor deny the allegations of this paragraph because they are legal

conclusions to which no responsive pleading is required.

       9.     At all times material and relevant hereto, Defendant Chris Dill was a Sergeant for
the Ottawa County Sheriff’s Department and was acting under the color of state law and in the
course and scope of his employment. He is sued in his individual capacity.

ANSWER:       The Ottawa County Defendants admit that Defendant Chris Dill is a deputized

member and sergeant of the Ottawa County Sheriff’s Department. The Ottawa County

Defendants neither admit nor deny the allegations of this paragraph because they are legal

conclusions to which no responsive pleading is required.

        10.     At all times material and relevant hereto, Defendant Collin Wallace was a police
officer for the Grand Valley State Police Department and was acting under the color of state law
and in the course and scope of his employment. He is sued in his individual capacity.




                                               3
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.116 Page 4 of 26



ANSWER:         The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        11.    At all times material and relevant hereto, Defendant Brandon DeHaan was a
Captain for the Grand Valley State Police Department and was acting under the color of state law
and in the course and scope of his employment. He is sued in his individual capacity.

ANSWER:         The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        12.    At all times material and relevant hereto, Defendant Dennis Luce was a Sergeant
for the Ottawa County Sheriff’s Department and was acting under the color of state law and in the
course and scope of his employment. He is sued in his individual capacity.

ANSWER:         The Ottawa County Defendants admit that Defendant Dennis Luce is a

deputized member and sergeant of the Ottawa County Sheriff’s Department. The Ottawa

County Defendants neither admit nor deny the allegations of this paragraph because they

are legal conclusions to which no responsive pleading is required.

       13.     At all times material and relevant hereto, Defendant Sean Kelley was an officer for
the Bloomfield Township Police Department and the father of Jeremy Kelley. He is sued in his
individual capacity.

ANSWER:         The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

                           COMMON FACTUAL ALLEGATIONS

       14.     Plaintiff reasserts and re-alleges each and every allegation contained in paragraphs
1 through 13, as if fully set forth herein.

ANSWER:         The Ottawa County Defendants reallege and reassert as if fully set forth herein

their allegations to paragraphs 1 through 13 of the First Amended Complaint as if fully set

forth herein.




                                                4
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.117 Page 5 of 26



       15.    Plaintiff, Pamela Reilly (“Pam”), is the mother of decedent Rosemarie Reilly.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       16.     Rosemarie was shot and killed at approximately 3:00 a.m. on November 6, 2016 by
her ex-boyfriend, Jeremy Kelley (herein “Jeremy”).

ANSWER:       Admitted.

       17.     Rosemarie and Jeremy were in a romantic relationship while Rosemarie attended
college at Grand Valley State University.

ANSWER:       Admitted.

        18.    Upon information and belief, Rosemarie and Jeremy’s relationship ended on or
about the second week in September of 2016.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        19.    On or about October 1, 2016, Rosemarie spoke to her mother and explained that
she and Jeremy were still living together, which caused her significant problems, and discussed
her desire to move out of the residence that she and Jeremy shared.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       20.     On or about October 5, 2016, Jeremy was admitted to the Holland Hospital after
attempting to commit suicide, telling Rosemarie that he had a gun to his head and was going to
shoot himself.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        21.    Upon information and belief, Rosemarie was unable to locate Jeremy when he
threatened suicide on October 5, but was able to speak to Jeremy’s father, Defendant Sean Kelley,
who tracked Jeremy’s phone so that police could locate him.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.




                                               5
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.118 Page 6 of 26



       22.     While attempting to locate Jeremy, Defendant Sean Kelley spoke on multiple
instances with Defendant Wallace along with other Grand Valley State police officers.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       23.     After getting out of the hospital following his October 5 suicide threat, Jeremy
began stalking and harassing Rosemarie.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       24.      Upon information and belief, Jeremy contacted Rosemarie repeatedly on October 7,
2016, and his statements to her made her believe that he was going to try and attempt suicide again.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       25.     In part to avoid Jeremy’s constant harassment after his suicide attempt, Rosemarie
stayed at the apartment of her friend, Shelby Gird, and also at the house of her aunt and uncle,
Noreen and David Rose.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        26.   Upon information and belief, on or about the early morning of October 8, 2017,
Jeremy attempted to locate Rosemarie by calling Pam pretending to be Jeremy’s boss, “Chad,”
and telling Pam that Jeremy had been taken to the hospital and that he needed Shelby’s phone
number so he could contact Rosemarie to obtain medical information for Jeremy.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       27.     These statements were lies and disturbing to Rosemarie.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       28.      On or about October 8, 2016, Rosemarie met her mother, Pam, for a late lunch,
Pam observed that Rosemarie had a crooked nose and facial bruises, and Pam took Rosemarie to
the hospital for treatment, where it was determined that she had suffered a broken nose.


                                                 6
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.119 Page 7 of 26



ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       29.    At approximately 5:00 p.m. on or about October 8, 2016, Jeremy admitted to Pam
during a phone conversation that he had hurt Rosemarie.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        30.    After leaving the hospital on October 8, 2016, Rosemarie called her father, John,
and told him that during an argument with Jeremy, after he physically prevented her from leaving,
Jeremy punched her in the face, arms, and legs several times, causing her broken nose among other
injuries.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       31.    From October 8, 2016 through October 11, 2016, Jeremy called Rosemarie
approximately forty three (43) times.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        32.    On or about October 11, 2016, Jeremy went to the house of Rosemarie’s aunt and
uncle, Noreen and David Rose, asking to see Rosemarie repeatedly, but was told she was not there.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       33.    After failing to locate Rosemarie on October 11, Jeremy called David Rose at
approximately 11:10 p.m. and again threatened to kill himself, stating that he had a gun to his head.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       34.     After being told by Jeremy that he was holding a gun to his head, David called 911
and, upon information and belief, reported Jeremy’s actions to Defendant Ottawa County Sheriff’s
Department.




                                                 7
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.120 Page 8 of 26



ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       35.     Upon information and belief, an officer from Defendant Ottawa County Sheriff’s
Department acting on David’s report that Jeremy threatened suicide contacted Jeremy by
telephone, but the police took no further action regarding Jeremy’s suicide attempt threat.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       36.     After the October 11 suicide threat, Jeremy continued stalking Rosemarie. On or
about October 12, 2016, Jeremy came to Grand Valley State University’s campus, where
Rosemarie was a student, and jumped in front of Rosemarie’s car before pounding on the window
and head-butting her vehicle.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        37.    On or about October 12, 2016, Rosemarie contacted GVSU’s Police Department
and reported Jeremy for stalking, domestic violence/abuse, and for putting a gun to her head and
threatening to kill her.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        38.   Rosemarie made her report to Defendant Wallace of the GVSU Police Department,
who then contacted Defendant Ottawa County Sheriff’s Department, who dispatched Defendant
Dill to the GVSU campus to give Rosemarie paperwork required for filing a Personal Protection
Order (“PPO”).

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       39.    Defendant Dill encouraged Rosemarie to file the PPO.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        40.    Defendant Wallace completed a “no trespassing” form for Jeremy along with
creating an incident report based on stalking arising from the circumstances Rosemarie told him
about; he also affirmatively suggested Rosemarie file a PPO against Jeremy.


                                               8
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.121 Page 9 of 26



ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        41.  Upon information and belief, on or about October 13, 2016, Defendant Tubergen
of the OCSD visited Jeremy at Jeremy’s home and told Jeremy to leave Rosemarie alone.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       42.    He did this based on Rosemarie’s desire to file the PPO.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       43.     Sometime after he visited Jeremy on October 13, 2016, Officer Tubergen called
Pam and told her that there was nothing that could be done to prevent Jeremy from calling
Rosemarie, that he had seen Jeremy’s guns and that Jeremy was legally allowed to own those guns,
and that he was “well aware” that Jeremy’s father, Sean Kelley, was a police officer.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       44.     At all times material and relevant, Jeremy’s father, Sean Kelley, was a Patrol
Officer with the Bloomfield Township Police Department in Bloomfield Township, Michigan.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       45.     During the October 13, 2016, telephone conversation, Pam told Defendant
Tubergen that Jeremy had held a gun to Rosemarie’s head and threatened to kill her with it. In
response, Officer Tubergen told Pam that Rosemarie needed to file a report.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

         46.    Upon information and belief, in response to Officer Tubergen’s direction, on or
about October 13, 2016, Rosemarie reported that Jeremy held a gun to her head and threatened to
kill her to Defendant Chris Dill.




                                               9
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.122 Page 10 of 26



ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       47.    Also on October 13, 2016, Defendant Dill informed Jeremy over the telephone that
he was not going to take Jeremy to jail despite his desire to question him regarding Rosemarie’s
complaint of domestic violence.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        48.    In the same telephone conversation with Jeremy, Jeremy informed Defendant Dill
that he was upset Rosemarie called the police and he believed she had obtained a PPO at that time.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

      49.      Defendant DeHaan reviewed both Defendant Wallace’s and Dill’s reports on
October 13.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        50.    Pam also called and spoke with Defendant DeHaan on October 13, 2016, wherein
she informed him about Jeremy’s stalking behavior, that Jeremy had several guns and was very
unpredictable, and that she was concerned about Jeremy’s father, Defendant Kelley, offering
Jeremy bad advice regarding the situation with Rosemarie.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       51.     Defendant DeHaan informed Pam that he would follow up on the incident.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       52.    Defendant DeHaan spoke to Jeremy on the morning of October 13, 2016. During
this phone conversation, he informed Jeremy he was inquiring into a report made about him by
Rosemarie.




                                               10
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.123 Page 11 of 26



ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       53.     Defendant DeHaan also told Jeremy that because of his earlier actions he was
banned from GVSU property, was not allowed on [sic] to enter any GVSU property, and not to
contact any of the Reilly family members by phone, e-mail or any other electronic means as they
do not wish to contact him.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        54.    On or about October 16, 2016, Pam Reilly spoke with Defendant Luce about the
need to retrieve Rosemarie’s belongings from Jeremy’s residence and expressed concerns about
Jeremy’s possession of firearms, which she informed Defendant Luce Jeremy had previously
threatened to kill Rosemarie with.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        55.     Upon information and belief, at the time of this October 16 phone conversation,
Sgt. Luce knew that Jeremy’s dad was a West Bloomfield police officer, had spoken to him, and
stated that Jeremy was allowed to have guns and that there was no cause to remove them.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       56.    Pam called and spoke to the Ottawa County Sheriff’s Department that day and
asked them to meet Rosemarie and herself at Jeremy’s trailer to retrieve her belongings.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        57.    Upon information and belief, Jeremy’s father, Defendant Kelley, had spoken with
officer(s) from Defendant OCSD prior to this encounter and on behalf of his son.

ANSWER:       The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       58.     Upon arriving at Jeremy’s trailer, Jeremy and an officer from Defendant OCSD
were cordially standing in the parking lot waiting.



                                              11
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.124 Page 12 of 26



ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        59.     The officer initially was not going to supervise Rosemarie’s removal of her things
inside the trailer, was going to permit Jeremy and Rosemarie to be alone while she removed her
things, and only did so upon request of the Reilly’s [sic].

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       60.     On or about October 17, 2016, Rosemarie paid for the PPO and picked it up from
the Kent County courthouse, signed by Judge Daniel Zemaitis. The PPO ordered that Jeremy was
prohibited from, among other conduct: entering Rosemarie’s residence, entering onto GVSU
property, following Rosemarie, and contacting Rosemarie by phone or Facebook.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

     61.      On or about October 18, 2016, Jeremy called Rosemarie three times despite
Rosemarie attempting to block Jeremy’s phone.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        62.    On or about October 19, 2016, Rosemarie contacted the GVSU police and reported
to Defendant Wallace that Jeremy continued to call her and stalk her by entering onto the GVSU
campus and following Rosemarie with his vehicle until she ran into a dining hall, where she called
the police from.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       63.     On multiple instances Pam called the GVSU police expressing fear for both her
daughters, specifically Rosemarie, as her other daughter Jennifer was with Rosemarie at the time.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

      64.     Upon information and belief, officers from the GVSU Police Department went to
Rosemarie’s sister, Jennifer Reilly’s, dorm room to check on Rosemarie after Pam Reilly called
the GVSU police to tell them that Jeremy was violating the PPO.


                                               12
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.125 Page 13 of 26



ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       65.     Despite Jeremy’s continued stalking of Rosemarie and Rosemarie’s reports, no one
attempted to arrest Jeremy.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        66.     Upon information and belief, during a telephone conversation that occurred on or
about October 20, 2016, Jeremy’s father, Defendant Sean Kelley, told Pam that Rosemarie was a
liar and that they (Pam and John) needed to stop calling the police on Jeremy.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        67.     Upon information and belief, sometime during the last week of October 2016,
Jeremy told Rosemarie and Jennifer Reilly that Jeremy’s dad, Defendant Sean Kelley, had spoken
to the local police and that “nothing was going to happen” to Jeremy for violating the PPO.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        68.    Rosemarie emailed Defendant Wallace on or around October 22, 2016, to which
she explained that since they had last spoken when she informed him she obtained the PPO, Jeremy
had tried to contact her 86 times through her phone, left her multiple voicemails, and emailed her
University email address on multiple instances.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       69.     A warrant was prepared by Defendant OCSD for Jeremy’s arrest on October 28,
2016, arising out of Rosemarie’s report of domestic violence.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       70.     Pursuant to Defendant OCSD’s policies, this warrant was mailed to Jeremy’s
residence.




                                               13
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.126 Page 14 of 26



ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        71.      Upon information and belief, Defendant Wallace mailed Jeremy a different warrant
for his arrest on or around November 2, 2016, arising out of Rosemarie’s complaint of his stalking
to GVSU PD.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       72.    On or about November 4, 2016, Pam Reilly accompanied Rosemarie to a Grand
Rapids garage to retrieve some of Rosemarie’s personal belongings that were stored there.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        73.    While at the garage, Pam called 911 after believing she saw Jeremy and asked the
police to send an officer out while Rosemarie removed her belongings from the garage.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       74.     The police refused to come to the garage, and because the garage manager would
not unlock the garage without Jeremy being present, Pam and Rosemarie left.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        75.    The following day, on or about November 5, 2016, Jeremy spoke with John Reilly
on the telephone and told John that he was with his step brother, Ryan Claffy, in Muskegon and
would not be able to come open the garage. Jeremy further stated that he was aware that he had
warrants out for his arrest, and John encouraged Jeremy to turn himself in and cooperate with the
police.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        76.     Upon information and belief, either Jeremy’s father or one of the Defendant police
officers in the area also informed Jeremy he had a warrant for his arrest relating to the domestic
violence incident but did not effectuate his arrest.



                                               14
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.127 Page 15 of 26



ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        77.     Upon information and belief, on or about November 6, 2016, Jeremy found
Rosemarie at a friend’s house located at 1450 Lake Dr. SE, Grand Rapids, MI 49605 [sic], and, at
approximately 3:00 a.m., dragged Rosemarie from the residence by her hair, shot her multiple
times in the torso with a black 9 mm Beretta pistol when she attempted to flee back into the house,
then shot himself in the head.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       78.     Rosemarie, whose condition was noted by police as indicating that she had been
involved in a struggle, was pronounced dead at the scene at approximately 3:22 a.m.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       79.    Jeremy, who upon information and belief was not deceased when police arrived,
was transported to St. Mary’s Hospital and was later pronounced dead from his injuries at
approximately 3:42 a.m.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        80.     Upon information and belief, Defendants knew that Jeremy had a handgun in his
possession yet permitted him to continue to possess the handgun despite continual knowledge of
his prior threats of shooting Rosemarie.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

     81.     Defendants knew of Jeremy’s propensity for violence yet did nothing to protect
Rosemarie Reilly.

ANSWER:        Denied as factually untrue.

      82.     The risk that Jeremy Kelley was out of control and dangerous to Rosemarie Reilly
was obvious and known by Defendants.

ANSWER:        Denied as factually untrue.




                                                15
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.128 Page 16 of 26



       83.    Upon information and belief, it was told or communicated to local police that
“nothing was going to happen” to Jeremy Kelley for violating his personal protection order.

ANSWER:        Denied as factually untrue.

      84.     Upon information and belief, local police, including the individually named
Defendant officers, listened and acquiesced to Jeremy’s father when he requested leniency for his
son.

ANSWER:        Denied as factually untrue.

        85.    In the month preceding Rosemarie’s death, Defendants put Jeremy on notice that
he should stay away from Rosemarie (i.e. she made a police complaint about him), that Rosemarie
filed a PPO against him, and that he had arrest warrant(s) out for his arrest relating to the stalking
and the domestic violence charge.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       86.     Defendants encouraged Rosemarie to file the PPO.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       87.     Jeremy’s father’s communications with the Defendant Officers, and the Officers,
and the Officers’ ensuing refusal to arrest and/or remove his guns, boldened Jeremy’s belief that
“nothing was going to happen” him [sic], which in turn led to Rosemarie’s death.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

       88.     Defendants’ regular communication with Jeremy, especially but not limited to after
he continually violated the signed PPO, boldened his belief that “nothing was going to happen”
him [sic], which in turn led to Rosemarie’s death.

ANSWER:        The Ottawa County Defendants neither admit nor deny due to a lack of

information regarding the allegations.

        89.     The Defendants used apparent authority and refrained from arresting Jeremy Kelley
for violating his protection order on four (4) separate occasions.

ANSWER:        Denied as factually untrue.




                                                 16
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.129 Page 17 of 26



       90.     The Defendants [sic] actions constitute an affirmative act that either created the risk
or increased the risk of danger to Rosemarie Reilly placing her in substantial risk of serious
immediate and proximate harm which was the cause of her death.

ANSWER:         Denied as factually untrue.

          91.   The Defendants [sic] affirmative actions are outrageous and shock the conscience.

ANSWER:         Denied as factually untrue.

                             COUNT I
     FOURTEENTH AMENDMENT VIOLATIONS UNDER 42 U.S.C. § 1983 AS TO
                    ALL/INIVIDUAL DEFENDANTS

       92.     Plaintiff reasserts and re-alleges each and every allegation contained in paragraphs
1 through 91, as if fully set forth herein.

ANSWER:         The Ottawa County Defendants reallege and reassert their answers to the

allegations in paragraphs 1 through 91 of the First Amended Complaint as if fully set forth

herein.

       93.     This action is brought pursuant to 42 U.S.C. § 1983 against Defendants in their
individual capacities for depriving Plaintiff of her constitutionally protected due process interest,
under color of law, in violation of the Due Process Clause of the Fourteenth Amendment to the
United States Constitution.

ANSWER:         The Ottawa County Defendants neither admit nor deny the allegations of this

paragraph because they are legal conclusions to which no responsive pleading is due.

     94.    Plaintiff’s decedent had a clearly established right, under the Fourteenth
Amendment to the United States Constitution, to be free from danger created by the state.

ANSWER:         Denied as legally and factually untrue.

        95.      The acts and/or omissions of Defendants, constituted deliberate indifference to
Plaintiff’s right, in violation of the Fourteenth Amendment.

ANSWER:         Denied as legally and factually untrue.

          96.   These claims are cognizable under 42 U.S.C. § 1983.

ANSWER:         Denied as legally and factually untrue.




                                                 17
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.130 Page 18 of 26



       97.     As a result of Defendants’ conduct complained of herein, Plaintiff suffered
deprivation of clearly established and well-settled rights protected and secured by the Fourteenth
Amendment to the United States Constitution.

ANSWER:        Denied as legally and factually untrue.

      98.     Defendants, individually, were deliberately indifferent to Plaintiff’s decedent,
which was a proximate cause of her death and conscious suffering.

ANSWER:        Denied as legally and factually untrue.

       99.     Defendants are not entitled to governmental or qualified immunity.

ANSWER:        Denied as legally and factually untrue.

       100. Pursuant to 42 U.S.C. § 1983, Defendants are liable to Plaintiff for all damages
allowed under federal law. To the extent that the damages allowable and/or recoverable are
deemed insufficient to fully compensate Plaintiff and/or to punish or deter the Defendants, this
Court must order additional damages to be allowed so as to satisfy any and all such inadequacies.
Defendants’ conduct was and remains extreme and outrageous subjecting Defendants to punitive
damages.

ANSWER:        Denied as legally and factually untrue.

      101.     As a result of the Defendants’ actions and/or omissions, Plaintiff has the following
damages:

               a.     Special damages in the form of medical, funeral, and burial expenses;

               b.     Compensatory damages;

               c.     Conscious pain and suffering;

               d.     Loss of companionship;

               e.     Punitive damages;

               f.     All damages allowable under Michigan law, including but not limited to the
                      Michigan Wrongful Death Act, M.C.L. § 600.2922;

               g.     All damages allowable under Federal law, including but not limited to 42
                      U.S.C. § 1983; and

               h.     Reasonable costs and attorney’s fees under 42 U.S.C. §1988.

ANSWER:        Denied as legally and factually untrue.




                                                18
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.131 Page 19 of 26



          WHEREFORE, the Ottawa County Defendants respectfully request that the First Amended

Complaint be dismissed with prejudice and without recovery of any relief whatsoever and that

they be awarded such further legal and equitable relief as appropriate, including, but not limited

to, costs and attorneys’ fees.

                                  COUNT II
            MUNICIPAL LIABILITY AS TO DEFENDANT OTTAWA COUNTY

       102. Plaintiff reasserts and re-alleges each and every allegation contained in paragraphs
1 through 101, as if fully set forth herein.

ANSWER:          The Ottawa County Defendants reallege and reassert their answers to the

allegations in paragraphs 1 through 101 of the First Amended Complaint as if fully set forth

herein.

      103. Defendant Ottawa County’s liability as a municipality arises out of Monell v.
Department of Social Services, 436 U.S. 658 (1978).

ANSWER:          The Ottawa County Defendants neither admit nor deny the allegations of this

paragraph because they are legal conclusions to which no responsive pleading is due.

          104.   Defendant Ottawa County through their policy making officials:

                 a.     Failed to establish, implement, and/or execute adequate policies,
                        procedures, rules and regulations to protect individuals, such as Rosemarie
                        Reilly, from individuals with violent tendencies or who had PPOs against
                        them;

                 b.     Failed to establish, implement, and/or execute adequate policies,
                        procedures, rules and regulations to protect individuals, such as Rosemarie
                        Reilly, from individuals against whom arrest warrants had been issued.

                 c.     Defendant’s policy, procedures, regulations, and customs, and/or its failure
                        to enact the same, caused and was the driving force behind the violations of
                        Plaintiff’s constitutional rights as alleged in this Complaint.

                 d.     Failing to properly train its employees, including the above-named
                        Defendant.

                 e.     Failed to establish, implement, and/or execute adequate policies,
                        procedures, rules and regulations that ensured officers from different police



                                                 19
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.132 Page 20 of 26



                       departments—Defendant          Kelley—could         improperly       influence
                       investigations and/or police conduct.

ANSWER:        Denied as legally and factually untrue.

        105. At all times material hereto, Defendant Ottawa County, through its agents, was
deliberately indifferent to the strong likelihood that constitutional violations, such as those in the
instant case, would occur, and pursued policies, practices, and customs that were a direct and
proximate cause of the deprivations of Plaintiff’s decedent’s constitutional rights.

ANSWER:        Denied as legally and factually untrue.

       106.    These claims are cognizable under 42. U.S.C. § 1983.

ANSWER:        Denied as legally and factually untrue.

       107. The customs, policies and/or practices of Defendant Ottawa County were a
proximate cause of the death and conscious suffering of Plaintiff’s decedent for the aforementioned
reasons.

ANSWER:        Denied as legally and factually untrue.

      108.     As a result of the Defendants’ actions and/or omissions, Plaintiff has the following
damages:

               a.      Special damages in the form of medical, funeral, and burial expenses;

               b.      Compensatory damages;

               c.      Conscious pain and suffering;

               d.      Loss of companionship;

               e.      Punitive damages;

               f.      All damages allowable under Michigan law, including but not limited to the
                       Michigan Wrongful Death Act, M.C.L. § 600.2922;

               g.      All damages allowable under Federal law, including but not limited to 42
                       U.S.C. § 1983; and

               h.      Reasonable costs and attorney’s fees under 42 U.S.C. § 1988.

ANSWER:        Denied as legally and factually untrue.

       WHEREFORE, the Ottawa County Defendants respectfully request that the First Amended

Complaint be dismissed with prejudice and without recovery of any relief whatsoever and that


                                                 20
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.133 Page 21 of 26



they be awarded such further legal and equitable relief as appropriate, including, but not limited

to, costs and attorneys’ fees.

                           COUNT III
  WRONGFL DEATH AS TO DEFENDANTS TUBERGEN, DILL, LUCE, WALLACE,
                       DEHAAN, AND KELLEY

       109. Plaintiff reasserts and re-alleges each and every allegation contained in paragraphs
1 through 108, as if fully set forth herein.

ANSWER:        The Ottawa County Defendants reallege and reassert their answers to the

allegations in paragraphs 1 through 108 of the First Amended Complaint as if fully set forth

herein.

       110. Plaintiff’s decedent suffered injuries resulting in death caused by Defendants’
wrongful conduct, and if death had not ensued, Plaintiff’s decedent would have been entitled to
maintain an action and recover damages. MCL § 600.2922.

ANSWER:        Denied as legally and factually untrue.

        111. The Defendants’ aforementioned acts and/or omissions were a proximate cause of
Plaintiff’s decedent’s death.

ANSWER:        Denied as legally and factually untrue.

       112. The acts and/or omissions of Defendants Eric Tubergen, Chris Dill, Dennis Luce,
Collin Wallace, Brandon DeHaan and Sean Kelley constituted gross negligence under state law.

ANSWER:        Denied as legally and factually untrue.

       113. The acts and/or omissions of Defendants Eric Tubergen, Chris Dill, Dennis Luce,
Collin Wallace, Brandon DeHaan and Sean Kelley were intentional, wanton and willful, and/or
grossly negligent and Defendants are therefore not entitled to governmental immunity under state
law, MCL § 691.1407.

ANSWER:        Denied as legally and factually untrue.

       114. Defendants’ gross negligence was a proximate cause of the injuries, including the
death of Plaintiff’s decedent.

ANSWER:        Denied as legally and factually untrue.

      115.     As a result of the Defendants’ actions and/or omissions, Plaintiff has the following
damages:



                                                21
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.134 Page 22 of 26



                a.     Special damages in the form of medical, funeral, and burial expenses;

                b.     Compensatory damages;

                c.     Conscious pain and suffering;

                d.     Loss of companionship;

                e.     Punitive damages;

                f.     All damages allowable under Michigan law, including but not limited to the
                       Michigan Wrongful Death Act, M.C.L. § 600.2922;

                g.     All damages allowable under Federal law, including but not limited to 42
                       U..S.C. § 1983; and

                h.     Reasonable costs and attorneys’ fees under 42 U.S.C. § 1988.

ANSWER:         Denied as legally and factually untrue.

          WHEREFORE, the Ottawa County Defendants respectfully request that the First Amended

Complaint be dismissed with prejudice and without recovery of any relief whatsoever and that

they be awarded such further legal and equitable relief as appropriate, including, but not limited

to, costs and attorneys’ fees.

                             COUNT IV
 CIVIL CONSPIRACY AS TO DEFENDANTS TUBERGEN, DILL, LUCE, WALLACE,
                        DEHAAN, AND KELLEY

       116. Plaintiff reasserts and re-alleges each and every allegation contained in paragraphs
1 through 115, as if fully set forth herein.

ANSWER:         The Ottawa County Defendants reallege and reassert their answers to the

allegations in paragraphs 1 through 115 of the First Amended Complaint as if fully set forth

herein.

        117. Defendants Tubergon [sic], Dill, Luce, Wallace, Dehaan [sic], and Kelley violated
Plaintiff’s decedent’s civil rights as identified herein, including by:

                a.     Allowing Jeremy Kelley to remain out of police custody despite numerous
                       violations of a PPO and despite Defendants’ knowledge that Jeremy Kelley
                       possessed firearms;



                                                22
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.135 Page 23 of 26



              b.      Waiting to arrest Jeremy Kelley pursuant to an arrest warrant for domestic
                      violence and mailing said warrant to Jeremy Kelley’s residence;

              c.      Speaking with Jeremy Kelley’s father, Defendant Kelley, and listening to
                      his efforts regarding leniency for his son;

              d.      Other violations of Plaintiff’s decedent’s civil rights learned through the
                      course of discovery.

ANSWER:       Denied as legally and factually untrue.

       118. Upon information and belief, Defendants violated Plaintiff’s decedent’s civil rights
pursuant to an agreement with or in concert with Defendant Sean Kelley.

ANSWER:       Denied as legally and factually untrue.

        119. Defendants were acting within the course and scope of their employment as police
officers when they conspired with Defendant Kelley.

ANSWER:       Denied as legally and factually untrue.

      120.    As a result of the Defendants’ actions and/or omissions, Plaintiff has the following
damages:

              a.      Special damages in the form of medical, funeral, and burial expenses;

              b.      Compensatory damages;

              c.      Conscious pain and suffering;

              d.      Loss of companionship;

              e.      Punitive damages;

              f.      All damages allowable under Michigan law, including but not limited to the
                      Michigan Wrongful Death Act, M.C.L. § 600.2922;

              g.      All damages allowable under Federal law, including but not limited to 42
                      U.S.C. § 1983; and

              h.      Reasonable costs and attorneys’ fees under 42 U.S.C. § 1988.

ANSWER:       Denied as legally and factually untrue.

       WHEREFORE, the Ottawa County Defendants respectfully request that the First Amended

Complaint be dismissed with prejudice and without recovery of any relief whatsoever and that




                                               23
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.136 Page 24 of 26



they be awarded such further legal and equitable relief as appropriate, including, but not limited

to, costs and attorneys’ fees.

                                               SILVER & VAN ESSEN, P.C.
                                               Attorneys for Defendants Ottawa County,
                                               Tubergen, Dill, and Luce

Date: November 6, 2018                         By: /s/ Douglas W. Van Essen
                                                       Douglas W. Van Essen (P33169)
                                                       Lee T. Silver (P36905)
                                                       Michael L. Gutierrez (P79440)

                                               BUSINESS ADDRESS AND TELEPHONE:
                                                    300 Ottawa Avenue, NW, Suite 620
                                                    Grand Rapids, MI 49503
                                                    (616) 988-5600
                                                    dwv@silvervanessen.com
                                                    ltsilver@silvervanessen.com
                                                    mgutierrez@silvervanessen.com


                                  AFFIRMATIVE DEFENSES

       The Ottawa County Defendants, by and through their attorneys aforesaid, incorporate by

reference their answers to the Complaint as if fully set forth herein and state the following as their

affirmative defenses:

       1.      Plaintiff has failed to state a claim upon which relief can be granted.

       2.      Plaintiff’s decedent failed to mitigate her alleged damages.

       3.      Plaintiff’s claims are barred in whole or in part by Rosemarie Reilly’s contributory

and/or comparative negligence or intentional acts, including, to but not limited to, the fact that she

chose to date Jeremy Kelley, continue living with Jeremy Kelley after they broke up, and did not

leave the area when she knew she was in physical danger.

       4.      Plaintiff’s claims are barred in whole or in part by her own contributory and/or

comparative negligence, including, to but not limited to, the fact she failed to remove the decedent

from the area when she perceived that Rosemary Reilly was in physical danger


                                                 24
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.137 Page 25 of 26



       5.      Plaintiff’s claims are barred in whole or in part by the doctrine of laches, estoppel,

or unclean hands.

       6.      Plaintiff has failed to add necessary parties.

       7.      Plaintiff’s claims are barred by the applicable statute of limitations.

       8.      The Ottawa County Defendants are entitled to attorneys’ fees pursuant to 42 U.S.C.

§ 1988.

       9.      In addition to the facts above, Plaintiff’s claims are barred in whole or in part by

the doctrines of governmental, municipal, qualified, good faith, and/or officer immunity.

       10.     Some or all of the claims may be barred by the Heck doctrine.

       11.     Some or all of the claims may be barred by Plaintiff’s failure to follow

administrative remedies.

       12.     The doctrine of respondeat superior has no applicability to the claims and,

therefore, the absence of that doctrine may bar some or all of the claims.

       13.     The actions of the Ottawa County Defendants did not violate Rosemarie Reilly’s

constitutional rights, nor were they deliberately indifferent nor occurred with evil intent or reckless

disregard.

       14.     Some or all of the claims may be barred by collateral estoppel.

       15.     The Ottawa County Defendants reserve the right to add additional defenses as they

become known through discovery.

       WHEREFORE, the Ottawa County Defendants request that this Court deny Plaintiff any

relief pursuant to the Complaint, that the Complaint be dismissed with prejudice, and that they be

granted such further relief as this Court deems appropriate, including but not limited to, costs and

attorneys’ fees.




                                                  25
Case 1:18-cv-01149-JTN-ESC ECF No. 10 filed 11/06/18 PageID.138 Page 26 of 26



                                               SILVER & VAN ESSEN, P.C.
                                               Attorneys for Defendants Ottawa County,
                                               Tubergen, Dill, and Luce

Date: November 6, 2018                         By: /s/ Douglas W. Van Essen
                                                       Douglas W. Van Essen (P33169)
                                                       Lee T. Silver (P36905)
                                                       Michael L. Gutierrez (P79440)

                                               BUSINESS ADDRESS AND TELEPHONE:
                                                    300 Ottawa Avenue, NW, Suite 620
                                                    Grand Rapids, MI 49503
                                                    (616) 988-5600
                                                    dwv@silvervanessen.com
                                                    ltsilver@silvervanessen.com
                                                    mgutierrez@silvervanessen.com

                                 DEMAND FOR JURY TRIAL

       By and through their attorneys, SILVER & VAN ESSEN, P.C., each and every Ottawa

County Defendant hereby demands a trial by jury on all issues in this case that are triable to a jury.

                                               SILVER & VAN ESSEN, P.C.
                                               Attorneys for Defendants Ottawa County,
                                               Tubergen, Dill, and Luce

Date: November 6, 2018                         By: /s/ Douglas W. Van Essen
                                                       Douglas W. Van Essen (P33169)
                                                       Lee T. Silver (P36905)
                                                       Michael L. Gutierrez (P79440)

                                               BUSINESS ADDRESS AND TELEPHONE:
                                                    300 Ottawa Avenue, NW, Suite 620
                                                    Grand Rapids, MI 49503
                                                    (616) 988-5600
                                                    dwv@silvervanessen.com
                                                    ltsilver@silvervanessen.com
                                                    mgutierrez@silvervanessen.com




                                                 26
